Case 3:18-cr-00030-RLY-|\/|PB Document 1 Filed 04/25/18 Page 1 of 4 Page|D #: 1

AO 91 (Rev. ll/l l) Crilninal Complaint

 

UNITED STATES DISTRICT CoURT

 

 

 

for the 655/§
Southern District of Indiana
United States of America ) 1544} C?(€. ga
(4~ 6`
) Case No. , , /Z/O,<\/<;.
LEoNlDEs oscAR ouiJADA-vELASQUEz § 3118-mi- UL/ MPB 044/§§
)
)
Defena’ant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief
On or about the date(S) of /~\pril 13, 2018 in the county of DUbOlS in the
southern v Districr Of indiana ` , the defendanr(s,) violated
Coa’e Section Ojj”ense Descrl'ptz'on
Titie 8, United States Code, Uniawfui Re-entry of an Aiien previously Removed or Deported from the
Sections 1326(a) and (b)(i). United States

This criminal complaint is based on these facts:

See attached affidavit

iii Continued on the attached sheet.

 

\\ Cdrnplainant S Signatul e

Anthor.v/ Cambisi, Deportation Otficer

 

Pz intea' name ana’ title

Sworn to before me and signed in my presence.

Date:

   

 

y /}//M§g/Agnatza'e

Cjty and State; Evansvilie, indiana i\/|atthew P. Brookman, i\/|agistrate Judge

 

Prinled name and title

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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT:
Leonides Oscar QUIJADA-VELASQUEZ

I, Anthony F. Cambisi, being duly sworn upon oath, state as follows:

l. I arn a Deportation Officer with United States lmmigration and Customs
Enforcement ("ICE") and have been so employed since 2009. l am currently assigned to
the Criminal Alien Program at lndianapolis, Indiana. My duties are to investigate
immigration violations, including aliens who have reentered the United States illegally

2. The following information is based upon my personal knowledge or
information provided to me by other law enforcement personnel and ICE records
pertaining to the defendant Leonides Oscar QUIJADA-VELASQUEZ (hereinafter
“QUIJADA~VELASQUEZ”) also known as Esau Alberto Ferrufino-Lopez. This
affidavit is submitted in support of a complaint for the arrest of QUIJADA-
VELASQUEZ for violation of Title 8 United States Code, Sections 1326(a) and (b)(l).
lt does not include each and every fact known to me about the investigation, but rather
only those facts that I believe are Sufficient to establish the requisite probable cause.

_3. QUIJADA-VELASQUEZ is a citizen of El Salvador by birth in
Chalatenago, El Salvador on November 25, 1986.

4. On March 28, 2018 the Huntingburg Police Department arrested
QUIJADA-VELASQUEZ also known as Esau Alberto Ferruflno-Lopez, for Dornestic
Battery, False Informing, and Intirnidation.

5. On March 28, 2018 an Immigration Detainer was lodged with the Dubois
County Sheriff’ s Department (hereinafter “DCSD”). The DCSD is located at 255 Brucke

Strasse, Jasper, Indiana, within the Southern District of Indiana.

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6. On March 28, 2018 Deportation Officers from the Pacific Enforcement
Response Center (“PERC”) received a notification of fingerprint confirmation for
QUIJADA-VELASQUEZ also known as Esau Alberto Ferrufino-Lopez at the DCSD,
Jasper, Indiana.

7. On April 13, 2018, l received information from the PERC regarding an
individual that is currently in DCSD custody. The subject is identified as QUIJADA-
VELASQUEZ.

8. Law enforcement database checks revealed that QUIJADA~
VELASQUEZ has an FBI record which shows removal proceedings

9. On June 30, 2009, QUIJADA~VELASQUEZ was ordered removed to his
native country of El Salvador.

10. On August 28, 2009, QUIJADA-VELASQUEZ was removed to his
native country of El Salvador through the Houston, TeXas Port of Entry.

11. On December 15 , 2010, QUIJADA-VELASQUEZ was removed to his
native country of El Salvador through the El Paso, Texas Port of Entry.

12. On December 1, 2008, QUIJADA-VELASQUEZ was convicted in the
Anne Arundel Circuit Court, Anne Arundel County, Maryland for SeX Offense Fourth
Degree (Case Number 02~K-08-001883). QUI.iADA-VELASQUEZ received a
sentence of 1 year in prison.

13. ICE maintains an indexing on all aliens identified by an alien registration
number. This ICE record is available to me and is file number A094 217 570 in the name

of Leonides Oscar QUIJADA-VELASQUEZ, date of birth November 25 , 1986.

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14. ICE records indicate QUIJADA-VELASQUEZ has not obtained
permission from the Attorney General or his successor the Secretary of Homeland
Security to reapply for admission to the United States.

15. Based on the foregoing, there is probable cause to believe that on or about
April 13, 2018, QUIJADA-VELASQUEZ violated Title 8 United States Code, Sections

1326(a) and (b)(l).

AFFIANT FURTHER SAYETH NOT. 7

Anthony pambisi
Deportation Officer

 

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Sworn and subscribed before me on this / § day of April, 2018.

 

 

Matthew`/l). Broél{m§n, Magi'strate Judge
United States District Court
Southern District of lndiana

